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                      EXHIBIT 18
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           A              B                  C            D                       E                                 F                       G                                            H
 1       Expr1        CALL_ID           STARTER_ID    CALL_DATE             STARTER_CODE              STARTER_FORMULATION            STARTER_QUANTITY                            CALL_ADDRESS_LINE_1
 2   1805        284874000019454   284874000019457          14-Feb-04     7710             Neurontin 300mg x 3                                      36   1805 Williamson COurt
 3   1805        284874000019454   284874000019458          14-Feb-04     7715             Neurontin 100mg x 3                                      12   1805 Williamson COurt
 4   1805        284874000028689   284874000028692           23-Apr-04    7698             Neurontin Scored Tabs 800mg x 3                          36   1805 Williamson COurt
 5   1916        90257173          70858162                 03-Feb-99     7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                   8   1916 Patterson St
 6   1916        90257173          70858162                 03-Feb-99     7710             Neurontin 300mg x 3 x 6 x 12                             12   1916 Patterson St
 7   1916        90257173          70858162                 03-Feb-99     7711             Neurontin 400mg x 3 x 6 x 12                             12   1916 Patterson St
 8   1916        90906084          70858229                  12-Apr-99    7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                   6   1916 Patterson St
 9   1916        90906084          70858229                  12-Apr-99    7710             Neurontin 300mg x 3 x 6 x 12                             25   1916 Patterson St
10   1916        91351721          70858303                  09-Jun-99    7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                   2   1916 Patterson St
11   1916        91351721          70858303                  09-Jun-99    7710             Neurontin 300mg x 3 x 6 x 12                             12   1916 Patterson St
12   1916        91838365          70867557                 12-Aug-99     7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                   8   1916 Patterson St
13   1916        91838365          70867557                 12-Aug-99     7710             Neurontin 300mg x 3 x 6 x 12                             24   1916 Patterson St
14   1916        92286557          70867587                  13-Oct-99    7710             Neurontin 300mg x 3 x 6 x 12                             36   1916 Patterson St
15   1916        92286557          70867587                  13-Oct-99    7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                  15   1916 Patterson St
16   1916        92839417          70858338                 23-Dec-99     7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                   8   1916 Patterson St
17   1916        92839417          70858338                 23-Dec-99     7710             Neurontin 300mg x 3 x 6 x 12                              8   1916 Patterson St
18   1916        92843098          70858334                 27-Dec-99     7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                  12   1916 Patterson St
19   1916        92843098          70858334                 27-Dec-99     7710             Neurontin 300mg x 3 x 6 x 12                             12   1916 Patterson St
20   1916        92976589          70858366                  19-Jan-00    7710             Neurontin 300mg x 3 x 6 x 12                              8   1916 Patterson St
21   1916        93131387          70858393                 09-Feb-00     7710             Neurontin 300mg x 3 x 6 x 12                             12   1916 Patterson St
22   1916        93131388          70858395                 09-Feb-00     7710             Neurontin 300mg x 3 x 6 x 12                              8   1916 Patterson St
23   1916        93193227          70858384                 16-Feb-00     7713             Neurontin 800mg x 3 x 6 x 12                              6   1916 Patterson St
24   1916        93193227          70858384                 16-Feb-00     7712             Neurontin 600mg x 3 x 6 x 12                              6   1916 Patterson St
25   1916        93193227          70858384                 16-Feb-00     7710             Neurontin 300mg x 3 x 6 x 12                             12   1916 Patterson St
26   1916        93460060          70858475                 15-Mar-00     7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                   6   1916 Patterson St
27   1916        93460060          70858475                 15-Mar-00     7710             Neurontin 300mg x 3 x 6 x 12                             12   1916 Patterson St
28   1916        93460060          70858475                 15-Mar-00     7712             Neurontin 600mg x 3 x 6 x 12                              4   1916 Patterson St
29   1916        93460060          70858475                 15-Mar-00     7713             Neurontin 800mg x 3 x 6 x 12                              4   1916 Patterson St
30   1916        93460061          70858479                 15-Mar-00     7710             Neurontin 300mg x 3 x 6 x 12                             12   1916 Patterson St
31   1916        93460061          70858479                 15-Mar-00     7712             Neurontin 600mg x 3 x 6 x 12                              4   1916 Patterson St
32   1916        93460061          70858479                 15-Mar-00     7713             Neurontin 800mg x 3 x 6 x 12                              4   1916 Patterson St
33   1916        93460061          70858479                 15-Mar-00     7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                   6   1916 Patterson St
34   1916        93780130          70858500                  20-Apr-00    7710             Neurontin 300mg x 3 x 6 x 12                             12   1916 Patterson St
35   1916        93780130          70858500                  20-Apr-00    7712             Neurontin 600mg x 3 x 6 x 12                              6   1916 Patterson St
36   1916        93915446          70858486                 10-May-00     7710             Neurontin 300mg x 3 x 6 x 12                             12   1916 Patterson St
37   1916        93915446          70858486                 10-May-00     7712             Neurontin 600mg x 3 x 6 x 12                              4   1916 Patterson St
38   1916        93915446          70858486                 10-May-00     7713             Neurontin 800mg x 3 x 6 x 12                              2   1916 Patterson St
39   1916        93915448          70858488                 10-May-00     7710             Neurontin 300mg x 3 x 6 x 12                              9   1916 Patterson St
40   1916        94222047          70858582                  15-Jun-00    7713             Neurontin 800mg x 3 x 6 x 12                              3   1916 Patterson St
41   1916        94222047          70858582                  15-Jun-00    7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                   3   1916 Patterson St
42   1916        94222047          70858582                  15-Jun-00    7710             Neurontin 300mg x 3 x 6 x 12                             12   1916 Patterson St
43   1916        94222047          70858582                  15-Jun-00    7712             Neurontin 600mg x 3 x 6 x 12                              3   1916 Patterson St
44   1916        94222052          70858584                  15-Jun-00    7713             Neurontin 800mg x 3 x 6 x 12                              2   1916 Patterson St
45   1916        94222052          70858584                  15-Jun-00    7712             Neurontin 600mg x 3 x 6 x 12                              2   1916 Patterson St
46   1916        94222052          70858584                  15-Jun-00    7710             Neurontin 300mg x 3 x 6 x 12                              7   1916 Patterson St
47   1916        94435118          70858604                   17-Jul-00   7713             Neurontin 800mg x 3 x 6 x 12                              3   1916 Patterson St
48   1916        94435118          70858604                   17-Jul-00   7710             Neurontin 300mg x 3 x 6 x 12                             12   1916 Patterson St
49   1916        94435118          70858604                   17-Jul-00   7712             Neurontin 600mg x 3 x 6 x 12                              3   1916 Patterson St
50   1916        94587306          70858654                 03-Aug-00     7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                   4   1916 Patterson St
51   1916        94673012          70858638                 14-Aug-00     7712             Neurontin 600mg x 3 x 6 x 12                              3   1916 Patterson St
52   1916        94673012          70858638                 14-Aug-00     7713             Neurontin 800mg x 3 x 6 x 12                              2   1916 Patterson St
53   1916        94673012          70858638                 14-Aug-00     7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                   3   1916 Patterson St
54   1916        94808193          71754344                 24-Aug-00     7713             Neurontin 800mg x 3 x 6 x 12                              3   1916 Patterson St
55   1916        94808193          71754344                 24-Aug-00     7712             Neurontin 600mg x 3 x 6 x 12                              2   1916 Patterson St
56   1916        94808192          71754343                 24-Aug-00     7709             Neurontin 100mg x 10 x 5 x 60(Uni-Dose)                   1   1916 Patterson St
57   1916        94808192          71754343                 24-Aug-00     7710             Neurontin 300mg x 3 x 6 x 12                              6   1916 Patterson St
58   1916        94908311          71794479                 06-Sep-00     7710             Neurontin 300mg x 3 x 6 x 12                             12   1916 Patterson St
59   1916        94908311          71794479                 06-Sep-00     7712             Neurontin 600mg x 3 x 6 x 12                              4   1916 Patterson St
60   1916        94908311          71794479                 06-Sep-00     7713             Neurontin 800mg x 3 x 6 x 12                              2   1916 Patterson St
61   1916        346101537         346101810                 24-Oct-00    7713             Neurontin 800mg x 3 x 6 x 12                             18   1916 Patterson St
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             A            B                 C           D                        E                            F                G                             H
62    1916       224000697        224002258                 17-Nov-00     7712       Neurontin 600mg x 3 x 6 x 12                   36   1916 Patterson St
63    1916       224000697        224002258                 17-Nov-00     7709       Neurontin 100mg x 10 x 5 x 60(Uni-Dose)        10   1916 Patterson St
64    1916       224000697        224002258                 17-Nov-00     7710       Neurontin 300mg x 3 x 6 x 12                   36   1916 Patterson St
65    1916       224000669        224002235                 21-Nov-00     7712       Neurontin 600mg x 3 x 6 x 12                   24   1916 Patterson St
66    1916       224000669        224002235                 21-Nov-00     7713       Neurontin 800mg x 3 x 6 x 12                   24   1916 Patterson St
67    1916       224000669        224002235                 21-Nov-00     7710       Neurontin 300mg x 3 x 6 x 12                   36   1916 Patterson St
68    1916       69114753         94756880                  30-Nov-00     7713       Neurontin 800mg x 3 x 6 x 12                   66   1916 Patterson St
69    1916       69114753         94756880                  30-Nov-00     7710       Neurontin 300mg x 3 x 6 x 12                   48   1916 Patterson St
70    1916       224000721        224002277                 21-Dec-00     7712       Neurontin 600mg x 3 x 6 x 12                   72   1916 Patterson St
71    1916       224000721        224002277                 21-Dec-00     7710       Neurontin 300mg x 3 x 6 x 12                   66   1916 Patterson St
72    1916       224000740        224002294                 03-Jan-01     7710       Neurontin 300mg x 3 x 6 x 12                   72   1916 Patterson St
73    1916       224000740        224002294                 03-Jan-01     7712       Neurontin 600mg x 3 x 6 x 12                   72   1916 Patterson St
74    1916       224000799        224002350                 16-Jan-01     7709       Neurontin 100mg x 10 x 5 x 60(Uni-Dose)        20   1916 Patterson St
75    1916       224000799        224002350                 16-Jan-01     7712       Neurontin 600mg x 3 x 6 x 12                   72   1916 Patterson St
76    1916       224000799        224002350                 16-Jan-01     7710       Neurontin 300mg x 3 x 6 x 12                   72   1916 Patterson St
77    1916       224000821        224002369                 24-Jan-01     7710       Neurontin 300mg x 3 x 6 x 12                   72   1916 Patterson St
78    1916       224000821        224002369                 24-Jan-01     7713       Neurontin 800mg x 3 x 6 x 12                   72   1916 Patterson St
79    1916       224000821        224002369                 24-Jan-01     7712       Neurontin 600mg x 3 x 6 x 12                   72   1916 Patterson St
80    1916       224000982        224002501                 22-Feb-01     7713       Neurontin 800mg x 3 x 6 x 12                   36   1916 Patterson St
81    1916       224000982        224002501                 22-Feb-01     7712       Neurontin 600mg x 3 x 6 x 12                   72   1916 Patterson St
82    1916       224000982        224002501                 22-Feb-01     7710       Neurontin 300mg x 3 x 6 x 12                   72   1916 Patterson St
83    1916       224000982        224002501                 22-Feb-01     7709       Neurontin 100mg x 10 x 5 x 60(Uni-Dose)        25   1916 Patterson St
84    1916       224001006        224002523                 13-Mar-01     7712       Neurontin 600mg x 3 x 6 x 12                   36   1916 Patterson St
85    1916       224001006        224002523                 13-Mar-01     7710       Neurontin 300mg x 3 x 6 x 12                   60   1916 Patterson St
86    1916       224001006        224002523                 13-Mar-01     7709       Neurontin 100mg x 10 x 5 x 60(Uni-Dose)        10   1916 Patterson St
87    1916       224001163        224002630                  24-Apr-01    7713       Neurontin 800mg x 3 x 6 x 12                   72   1916 Patterson St
88    1916       224001163        224002630                  24-Apr-01    7712       Neurontin 600mg x 3 x 6 x 12                   72   1916 Patterson St
89    1916       224001163        224002630                  24-Apr-01    7709       Neurontin 100mg x 10 x 5 x 60(Uni-Dose)        20   1916 Patterson St
90    1916       224001481        224002874                   28-Jul-01   7709       Neurontin 100mg x 10 x 5 x 60(Uni-Dose)        30   1916 Patterson St
91    1916       224001481        224002874                   28-Jul-01   7710       Neurontin 300mg x 3 x 6 x 12                   48   1916 Patterson St
92    1916       224001481        224002874                   28-Jul-01   7713       Neurontin 800mg x 3 x 6 x 12                   36   1916 Patterson St
93    1916       224001586        224002951                 04-Sep-01     7713       Neurontin 800mg x 3 x 6 x 12                   72   1916 Patterson St
94    1916       224001586        224002951                 04-Sep-01     7712       Neurontin 600mg x 3 x 6 x 12                   72   1916 Patterson St
95    1916       224001586        224002951                 04-Sep-01     7709       Neurontin 100mg x 10 x 5 x 60(Uni-Dose)        30   1916 Patterson St
96    1916       20011000030399   20011000030403             09-Oct-01    7715       Neurontin 100mg x 3                            12   1916 PATTERSON ST
97    1916       20012000002678   20012000002680            06-Nov-01     7710       Neurontin 300mg x 3                           144   1916 PATTERSON ST
98    1916       20012000002678   20012000002681            06-Nov-01     7715       Neurontin 100mg x 3                            42   1916 PATTERSON ST
99    1916       20011000094176   20011000094179            12-Dec-01     7712       Neurontin 600mg x 3                            36   1916 PATTERSON ST
100   1916       20011000094176   20011000094180            12-Dec-01     7713       Neurontin 800mg x 3                            72   1916 PATTERSON ST
101   1916       20011000094176   20011000094181            12-Dec-01     7715       Neurontin 100mg x 3                           144   1916 PATTERSON ST
102   1916       20011000094176   20011000094178            12-Dec-01     7710       Neurontin 300mg x 3                           198   1916 PATTERSON ST
103   1916       46427000000134   46427000000135            06-Feb-02     7709       Neuronin 100mg x 10 Unidose                    30   1916 PATTERSON ST
104   1916       46427000000134   46427000000136            06-Feb-02     7710       Neurontin 300mg x 3                           216   1916 PATTERSON ST
105   1916       46426000032013   46426000032017            06-Mar-02     7715       Neurontin 100mg x 3                            72   1916 PATTERSON ST
106   1916       46426000032013   46426000032015            06-Mar-02     7710       Neurontin 300mg x 3                            72   1916 PATTERSON ST
107   1916       46426000032013   46426000032016            06-Mar-02     7712       Neurontin 600mg x 3                            36   1916 PATTERSON ST
108   1916       68998000016067   68998000016072            01-May-02     7712       Neurontin 600mg x 3                           144   1916 PATTERSON ST
109   1916       68998000016067   68998000016071            01-May-02     7710       Neurontin 300mg x 3                           144   1916 PATTERSON ST
110   1916       68998000034873   68998000034876            22-May-02     7715       Neurontin 100mg x 3                            72   1916 PATTERSON ST
111   1916       68998000034873   68998000034875            22-May-02     7710       Neurontin 300mg x 3                            72   1916 PATTERSON ST
112   1916       68998000071182   68998000071185              17-Jul-02   7710       Neurontin 300mg x 3                           144   1916 PATTERSON ST
113   1916       68998000095452   68998000095454            21-Aug-02     7710       Neurontin 300mg x 3                           144   1916 PATTERSON ST
114   1916       68998000095452   68998000095455            21-Aug-02     7713       Neurontin 800mg x 3                            72   1916 PATTERSON ST
115   1916       68998000095452   68998000095456            21-Aug-02     7715       Neurontin 100mg x 3                            72   1916 PATTERSON ST
116   1916       68998000102083   68998000102088            03-Sep-02     7713       Neurontin 800mg x 3                           144   1916 PATTERSON ST
117   1916       68998000107249   68998000107254            13-Sep-02     7713       Neurontin 800mg x 3                           144   1916 Patterson St
118   1916       68998000107249   68998000107253            13-Sep-02     7710       Neurontin 300mg x 3                           216   1916 Patterson St
119   1916       68998000114963   68998000114966             07-Oct-02    7712       Neurontin 600mg x 3                            72   1916 PATTERSON ST
120   1916       68998000129076   68998000129080             23-Oct-02    7710       Neurontin 300mg x 3                            72   1916 Patterson St
121   1916       68998000129049   68998000129053             30-Oct-02    7715       Neurontin 100mg x 3                            72   1916 PATTERSON ST
122   1916       50590000132043   50590000132046            08-Nov-02     7712       Neurontin 600mg x 3                            30   1916 Patterson St
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             A           B                   C           D                        E                          F      G                                         H
123   1916       68998000134974    68998000134980            12-Nov-02     7710       Neurontin 300mg x 3               144   1916 Patterson St
124   1916       68998000134974    68998000134979            12-Nov-02     7709       Neuronin 100mg x 10 Unidose        30   1916 Patterson St
125   1916       68998000140046    68998000140049            22-Nov-02     7710       Neurontin 300mg x 3                72   1916 PATTERSON ST
126   1916       50591000000810    50591000000812            25-Nov-02     7710       Neurontin 300mg x 3                72   1916 Patterson St Suite 101
127   1916       50591000000818    50591000000819            25-Nov-02     7710       Neurontin 300mg x 3                72   1916 Patterson St
128   1916       68998000145823    68998000145828            06-Dec-02     7710       Neurontin 300mg x 3                72   1916 Patterson St
129   1916       68998000150315    68998000150321            18-Dec-02     7710       Neurontin 300mg x 3               144   1916 PATTERSON ST
130   1916       68998000161206    68998000161210            08-Jan-03     7713       Neurontin 800mg x 3                72   1916 PATTERSON ST
131   1916       68998000167941    68998000167945            20-Jan-03     7710       Neurontin 300mg x 3                72   1916 PATTERSON ST
132   1916       68998000172996    68998000173001            28-Jan-03     7710       Neurontin 300mg x 3               144   1916 Patterson St
133   1916       68998000172203    68998000172206            29-Jan-03     7710       Neurontin 300mg x 3                72   1916 PATTERSON ST
134   1916       68998000176043    68998000176047            05-Feb-03     7712       Neurontin 600mg x 3                72   1916 PATTERSON ST
135   1916       68998000176043    68998000176046            05-Feb-03     7710       Neurontin 300mg x 3                72   1916 PATTERSON ST
136   1916       68998000176013    68998000176018            05-Feb-03     7713       Neurontin 800mg x 3                72   1916 Patterson St
137   1916       68998000176013    68998000176017            05-Feb-03     7712       Neurontin 600mg x 3                72   1916 Patterson St
138   1916       68998000181190    68998000181193            11-Feb-03     7710       Neurontin 300mg x 3                72   1916 PATTERSON ST
139   1916       68998000181190    68998000181194            11-Feb-03     7712       Neurontin 600mg x 3                72   1916 PATTERSON ST
140   1916       68998000184118    68998000184122            19-Feb-03     7710       Neurontin 300mg x 3                72   1916 PATTERSON ST
141   1916       68998000191478    68998000191481            03-Mar-03     7710       Neurontin 300mg x 3                72   1916 Patterson Street
142   1916       68998000191478    68998000191482            03-Mar-03     7712       Neurontin 600mg x 3                72   1916 Patterson Street
143   1916       68998000199334    68998000199339            20-Mar-03     7710       Neurontin 300mg x 3               144   1916 PATTERSON ST
144   1916       68998000199364    68998000199370            20-Mar-03     7712       Neurontin 600mg x 3                72   1916 Patterson St
145   1916       68998000199364    68998000199369            20-Mar-03     7710       Neurontin 300mg x 3                72   1916 Patterson St
146   1916       68998000205431    68998000205436             07-Apr-03    7710       Neurontin 300mg x 3                72   1916 Patterson Street
147   1916       68998000205431    68998000205437             07-Apr-03    7713       Neurontin 800mg x 3                72   1916 Patterson Street
148   1916       68998000205467    68998000205472             07-Apr-03    7710       Neurontin 300mg x 3                72   1916 Patterson St
149   1916       68998000209019    68998000209026             11-Apr-03    7712       Neurontin 600mg x 3                22   1916 Patterson St
150   1916       68998000209019    68998000209025             11-Apr-03    7710       Neurontin 300mg x 3               144   1916 Patterson St
151   1916       68998000210497    68998000210501             17-Apr-03    7710       Neurontin 300mg x 3               144   1916 Patterson St
152   1916       209223000012661   209223000012665            18-Apr-03    7712       Neurontin 600mg x 3                72   1916 Patterson St
153   1916       209223000012661   209223000012664            18-Apr-03    7710       Neurontin 300mg x 3                72   1916 Patterson St
154   1916       209223000014192   209223000014194            25-Apr-03    7713       Neurontin 800mg x 3                72   1916 Patterson St
155   1916       209223000018857   209223000018860           05-May-03     7712       Neurontin 600mg x 3                48   1916 Patterson St., Suite 101
156   1916       209223000018857   209223000018861           05-May-03     7713       Neurontin 800mg x 3                72   1916 Patterson St., Suite 101
157   1916       209223000018857   209223000018859           05-May-03     7710       Neurontin 300mg x 3                72   1916 Patterson St., Suite 101
158   1916       236485000007454   236485000007457           30-May-03     7710       Neurontin 300mg x 3                36   1916 Patterson St
159   1916       236485000008028   236485000008032           30-May-03     7710       Neurontin 300mg x 3                 6   1916 Patterson Street
160   1916       236485000007407   236485000007410           30-May-03     7710       Neurontin 300mg x 3                36   1916 Patterson St
161   1916       236485000012988   236485000012995            05-Jun-03    7712       Neurontin 600mg x 3                36   1916 Patterson St Ste 101
162   1916       236485000012988   236485000012994            05-Jun-03    7710       Neurontin 300mg x 3                36   1916 Patterson St Ste 101
163   1916       236119000013831   236119000013836            05-Jun-03    7712       Neurontin 600mg x 3                36   1916 Patterson St Ste 101
164   1916       243096000000823   243096000000828            05-Jun-03    7712       Neurontin 600mg x 3                36   1916 Patterson St Ste 101
165   1916       236485000023630   236485000023635            20-Jun-03    7710       Neurontin 300mg x 3                36   1916 Patterson St Ste 101
166   1916       236485000023404   236485000023407            20-Jun-03    7712       Neurontin 600mg x 3                12   1916 Patterson Street
167   1916       236485000023451   236485000023455            20-Jun-03    7712       Neurontin 600mg x 3                18   1916 Patterson Street
168   1916       243096000015270   243096000015275            26-Jun-03    7715       Neurontin 100mg x 3                24   1916 Patterson St
169   1916       243096000015270   243096000015274            26-Jun-03    7710       Neurontin 300mg x 3                72   1916 Patterson St
170   1916       253180000002940   253180000002945             11-Jul-03   7713       Neurontin 800mg x 3                72   1916 Patterson St
171   1916       253180000002940   253180000002944             11-Jul-03   7710       Neurontin 300mg x 3                72   1916 Patterson St
172   1916       236485000048376   236485000048380             18-Jul-03   7712       Neurontin 600mg x 3                36   1916 Patterson Street
173   1916       236485000048193   236485000048197             18-Jul-03   7710       Neurontin 300mg x 3                72   1916 Patterson Street
174   1916       236485000048376   236485000048381             18-Jul-03   7713       Neurontin 800mg x 3                36   1916 Patterson Street
175   1916       236485000048339   236485000048343             18-Jul-03   7710       Neurontin 300mg x 3                48   1916 Patterson St
176   1916       253180000014486   253180000014490             24-Jul-03   7710       Neurontin 300mg x 3                60   1916 Patterson St
177   1916       236485000085504   236485000085508           28-Aug-03     7710       Neurontin 300mg x 3                36   1916 Patterson Street
178   1916       236485000085481   236485000085485           28-Aug-03     7712       Neurontin 600mg x 3                72   1916 Patterson St
179   1916       236485000085437   236485000085441           28-Aug-03     7712       Neurontin 600mg x 3                72   1916 Patterson Street
180   1916       236485000097625   236485000097629           11-Sep-03     7710       Neurontin 300mg x 3                72   1916 Patterson St
181   1916       236485000097727   236485000097731           11-Sep-03     7712       Neurontin 600mg x 3                36   1916 Patterson Street
182   1916       236485000097704   236485000097708           11-Sep-03     7712       Neurontin 600mg x 3                36   1916 Patterson St
183   1916       253180000063385   253180000063393           19-Sep-03     7712       Neurontin 600mg x 3               144   1916 Patterson St Ste 101
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             A            B                  C           D                       E                            F                G                                            H
184   1916       253180000063385   253180000063392           19-Sep-03    7710       Neurontin 300mg x 3                           144   1916 Patterson St Ste 101
185   1916       253180000071348   253180000071352           30-Sep-03    7710       Neurontin 300mg x 3                            72   1916 Patterson St., Suite 101
186   1916       253180000074187   253180000074191            05-Oct-03   7710       Neurontin 300mg x 3                            72   1916 Patterson St
187   1916       253180000074187   253180000074192            05-Oct-03   7715       Neurontin 100mg x 3                            72   1916 Patterson St
188   1916       236485000124418   236485000124422            09-Oct-03   7713       Neurontin 800mg x 3                            18   1916 Patterson St
189   1916       236485000131550   236485000131554            17-Oct-03   7713       Neurontin 800mg x 3                            18   1916 Patterson Street, Suite 105
190   1916       236485000137830   236485000137834            24-Oct-03   7710       Neurontin 300mg x 3                            48   1916 Patterson Street, Suite 105
191   1916       236485000137692   236485000137696            24-Oct-03   7715       Neurontin 100mg x 3                            72   1916 Patterson St
192   1916       236485000137692   236485000137695            24-Oct-03   7710       Neurontin 300mg x 3                            72   1916 Patterson St
193   1916       284874000000807   284874000000810            31-Oct-03   7710       Neurontin 300mg x 3                            72   1916 Patterson Street
194   1916       284874000000798   284874000000802            31-Oct-03   7710       Neurontin 300mg x 3                            72   1916 Patterson St
195   1916       209223000096442   209223000096447           04-Dec-03    7712       Neurontin 600mg x 3                            18   1916 Patterson St Ste 101
196   1916       209223000096442   209223000096446           04-Dec-03    7710       Neurontin 300mg x 3                            18   1916 Patterson St Ste 101
197   1916       209223000096760   209223000096764           04-Dec-03    7712       Neurontin 600mg x 3                            18   1916 Patterson St
198   1916       209223000096760   209223000096763           04-Dec-03    7710       Neurontin 300mg x 3                            36   1916 Patterson St
199   1916       277812000006706   277812000006710           05-Dec-03    7710       Neurontin 300mg x 3                            72   1916 Patterson St
200   1916       284874000005711   284874000005717           11-Dec-03    7710       Neurontin 300mg x 3                            24   1916 Patterson St Ste 101
201   1916       284874000008971   284874000008974           08-Jan-04    7710       Neurontin 300mg x 3                            72   1916 Patterson St., Suite 101
202   1916       284874000008953   284874000008958           08-Jan-04    7710       Neurontin 300mg x 3                            36   1916 Patterson St Ste 101
203   1916       284874000008953   284874000008959           08-Jan-04    7712       Neurontin 600mg x 3                            36   1916 Patterson St Ste 101
204   1916       284875000000078   284874000008892           08-Jan-04    7710       Neurontin 300mg x 3                           144   1916 Patterson St
205   1916       284875000000078   284874000008893           08-Jan-04    7713       Neurontin 800mg x 3                            72   1916 Patterson St
206   1916       284874000008953   284874000008960           08-Jan-04    7715       Neurontin 100mg x 3                            36   1916 Patterson St Ste 101
207   1916       284874000008971   284874000008975           08-Jan-04    7712       Neurontin 600mg x 3                            36   1916 Patterson St., Suite 101
208   1916       209223000107150   209223000107154           12-Jan-04    7710       Neurontin 300mg x 3                            18   1916 Patterson St Ste 101
209   1916       209223000107123   209223000107126           12-Jan-04    7710       Neurontin 300mg x 3                            54   1916 Patterson St
210   1916       277812000014675   277812000014679           15-Jan-04    7712       Neurontin 600mg x 3                            36   1916 Patterson St
211   1916       277812000018989   277812000018993           29-Jan-04    7713       Neurontin 800mg x 3                            12   1916 Patterson St Ste 101
212   1916       277812000018989   277812000018992           29-Jan-04    7712       Neurontin 600mg x 3                            12   1916 Patterson St Ste 101
213   1916       277812000019225   277812000019229           30-Jan-04    7712       Neurontin 600mg x 3                            24   1916 Patterson St., Suite 101
214   1916       277812000019250   277812000019254           30-Jan-04    7713       Neurontin 800mg x 3                            24   1916 Patterson St
215   1916       277812000019225   277812000019230           30-Jan-04    7715       Neurontin 100mg x 3                             6   1916 Patterson St., Suite 101
216   1916       277812000025009   277812000025013           10-Feb-04    7713       Neurontin 800mg x 3                            24   1916 Patterson Street, suite 106
217   1916       284874000020456   284874000020459           18-Feb-04    7710       Neurontin 300mg x 3                            72   1916 Patterson Street, suite 106
218   1916       277812000028233   277812000028238           27-Feb-04    7715       Neurontin 100mg x 3                            48   1916 Patterson St., Suite 101
219   1916       277812000028233   277812000028237           27-Feb-04    7710       Neurontin 300mg x 3                            48   1916 Patterson St., Suite 101
220   1916       318957000000396   318957000000400           08-Mar-04    7710       Neurontin 300mg x 3                            36   1916 Patterson St
221   1916       318957000000396   318957000000401           08-Mar-04    7695       Neurontin Scored Tabs 600mg x 3                36   1916 Patterson St
222   1916       277812000030518   277812000030523           12-Mar-04    7698       Neurontin Scored Tabs 800mg x 3                12   1916 Patterson St
223   1916       277812000030518   277812000030522           12-Mar-04    7695       Neurontin Scored Tabs 600mg x 3                36   1916 Patterson St
224   1916       277812000030474   277812000030478           12-Mar-04    7698       Neurontin Scored Tabs 800mg x 3                24   1916 Patterson St., Suite 101
225   1916       284874000024245   284874000024248           18-Mar-04    7710       Neurontin 300mg x 3                            72   1916 Patterson Street, suite 106
226   1916       284874000024313   284874000024315           18-Mar-04    7710       Neurontin 300mg x 3                            72   1916 Patterson Street, Suite 105
227   1916       284874000024253   284874000024256           18-Mar-04    7710       Neurontin 300mg x 3                            72   1916 Patterson St., Suite 101
228   1916       318957000002682   318957000002688           24-Mar-04    7710       Neurontin 300mg x 3                            36   1916 Patterson St Ste 101
229   1916       318957000002682   318957000002689           24-Mar-04    7712       Neurontin 600mg x 3                            36   1916 Patterson St Ste 101
230   1916       318957000002721   318957000002725           24-Mar-04    7710       Neurontin 300mg x 3                            72   1916 Patterson St
231   1916       318957000002649   318957000002654           24-Mar-04    7712       Neurontin 600mg x 3                            72   1916 Patterson St
232   1916       318957000002649   318957000002653           24-Mar-04    7710       Neurontin 300mg x 3                            72   1916 Patterson St
233   1916       318957000002721   318957000002726           24-Mar-04    7712       Neurontin 600mg x 3                            72   1916 Patterson St
234   1916       277812000032988   277812000032992           25-Mar-04    7710       Neurontin 300mg x 3                            60   1916 Patterson St., Suite 101
235   1916       284874000026160   284874000026163            01-Apr-04   7710       Neurontin 300mg x 3                            72   1916 Patterson St., Suite 101
236   1916       277812000035158   277812000035162            09-Apr-04   7710       Neurontin 300mg x 3                            72   1916 Patterson Street, suite 106
237   1916       277812000038372   277812000038377            22-Apr-04   7698       Neurontin Scored Tabs 800mg x 3                36   1916 Patterson St Ste 101
238   1916       277812000038580   277812000038583            23-Apr-04   7712       Neurontin 600mg x 3                            24   1916 Patterson St., Suite 101
239   1916       277812000038580   277812000038584            23-Apr-04   7713       Neurontin 800mg x 3                            36   1916 Patterson St., Suite 101
240   1916       277812000042136   277812000042140           07-May-04    7710       Neurontin 300mg x 3                            36   1916 Patterson St
241   1916       277812000047378   277812000047381           19-May-04    7710       Neurontin 300mg x 3                             6   1916 Patterson St., Suite 101
242   1916       277812000047538   277812000047542           19-May-04    7715       Neurontin 100mg x 3                             6   1916 Patterson St
243   2400       92286559          70867588                   13-Oct-99   7710       Neurontin 300mg x 3 x 6 x 12                   36   2400 PATTERSON ST. SUITE 203
244   2400       92286559          70867588                   13-Oct-99   7709       Neurontin 100mg x 10 x 5 x 60(Uni-Dose)        15   2400 PATTERSON ST. SUITE 203
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             A            B                  C           D                        E                            F                G                                        H
245   2400       93131389          70858399                  09-Feb-00     7710       Neurontin 300mg x 3 x 6 x 12                   12   2400 Patterson St. Suite 400
246   2400       93472276          70858454                  16-Mar-00     7710       Neurontin 300mg x 3 x 6 x 12                    8   2400 Patterson St. Suite 400
247   2400       93472276          70858454                  16-Mar-00     7712       Neurontin 600mg x 3 x 6 x 12                    4   2400 Patterson St. Suite 400
248   2400       94685638          70858653                  15-Aug-00     7713       Neurontin 800mg x 3 x 6 x 12                    3   2400 Patterson St. Suite 400
249   2400       94685638          70858653                  15-Aug-00     7709       Neurontin 100mg x 10 x 5 x 60(Uni-Dose)         4   2400 Patterson St. Suite 400
250   2400       94685638          70858653                  15-Aug-00     7710       Neurontin 300mg x 3 x 6 x 12                   12   2400 Patterson St. Suite 400
251   2400       94685638          70858653                  15-Aug-00     7712       Neurontin 600mg x 3 x 6 x 12                    3   2400 Patterson St. Suite 400
252   2400       69602093          94898740                  11-Jan-01     7710       Neurontin 300mg x 3 x 6 x 12                   72   2400 Patterson St. Suite 400
253   2400       69602093          94898740                  11-Jan-01     7712       Neurontin 600mg x 3 x 6 x 12                   18   2400 Patterson St. Suite 400
254   2400       69602093          94898740                  11-Jan-01     7713       Neurontin 800mg x 3 x 6 x 12                   36   2400 Patterson St. Suite 400
255   2400       224000950         224002471                 02-Mar-01     7710       Neurontin 300mg x 3 x 6 x 12                  144   2400 Patterson St. Suite 123
256   2400       224000950         224002471                 02-Mar-01     7712       Neurontin 600mg x 3 x 6 x 12                   48   2400 Patterson St. Suite 123
257   2400       224001588         224002952                 04-Sep-01     7709       Neurontin 100mg x 10 x 5 x 60(Uni-Dose)        30   2400 Patterson St. Suite 400
258   2400       224001588         224002952                 04-Sep-01     7710       Neurontin 300mg x 3 x 6 x 12                  144   2400 Patterson St. Suite 400
259   2400       224001588         224002952                 04-Sep-01     7712       Neurontin 600mg x 3 x 6 x 12                   72   2400 Patterson St. Suite 400
260   2400       224001588         224002952                 04-Sep-01     7713       Neurontin 800mg x 3 x 6 x 12                   72   2400 Patterson St. Suite 400
261   2400       20012000000147    20012000000148             24-Oct-01    7710       Neurontin 300mg x 3                           288   2400 Patterson St, Suite 400
262   2400       46426000001040    46426000001042            21-Jan-02     7710       Neurontin 300mg x 3                           144   2400 Patterson St, Suite 400
263   2400       68998000068505    68998000068507            13-May-02     7710       Neurontin 300mg x 3                           144   2400 Patterson Street
264   2400       68998000025868    68998000025872            13-May-02     7715       Neurontin 100mg x 3                           144   2400 Patterson St, Suite 400
265   2400       68998000025868    68998000025871            13-May-02     7710       Neurontin 300mg x 3                           216   2400 Patterson St, Suite 400
266   2400       68998000068505    68998000068508            13-May-02     7713       Neurontin 800mg x 3                            72   2400 Patterson Street
267   2400       68998000062960    68998000062963              08-Jul-02   7710       Neurontin 300mg x 3                           144   2400 Patterson St, Suite 400
268   2400       68998000187267    68998000187273            27-Feb-03     7710       Neurontin 300mg x 3                           144   2400 Patterson Street
269   2400       68998000190012    68998000190016            06-Mar-03     7710       Neurontin 300mg x 3                            72   2400 Patterson St.
270   2400       209223000012364   209223000012367            18-Apr-03    7712       Neurontin 600mg x 3                            48   2400 Patterson St
271   2400       209223000012364   209223000012366            18-Apr-03    7710       Neurontin 300mg x 3                            48   2400 Patterson St
272   2400       243096000000632   243096000000637            06-Jun-03    7710       Neurontin 300mg x 3                            36   2400 Patterson St, Ste 4
273   2400       236485000023474   236485000023478            20-Jun-03    7712       Neurontin 600mg x 3                            36   2400 Patterson St
274   2400       253180000003078   253180000003083             11-Jul-03   7712       Neurontin 600mg x 3                            36   2400 Patterson St
275   2400       253180000003067   253180000003072             11-Jul-03   7712       Neurontin 600mg x 3                            36   2400 Patterson St, Ste 4
276   2400       253180000003067   253180000003071             11-Jul-03   7710       Neurontin 300mg x 3                            72   2400 Patterson St, Ste 4
277   2400       253180000003078   253180000003082             11-Jul-03   7710       Neurontin 300mg x 3                            60   2400 Patterson St
278   2400       253180000027768   253180000027772           08-Aug-03     7710       Neurontin 300mg x 3                            72   2400 Patterson St, Ste 4
279   2400       253180000027768   253180000027773           08-Aug-03     7712       Neurontin 600mg x 3                            72   2400 Patterson St, Ste 4
280   2400       253180000048058   253180000048062           02-Sep-03     7710       Neurontin 300mg x 3                            72   2400 Patterson St, Ste 4
281   2400       284874000001720   284874000001723           10-Nov-03     7712       Neurontin 600mg x 3                            72   2400 Patterson St
282   2400       284874000001720   284874000001724           10-Nov-03     7710       Neurontin 300mg x 3                            72   2400 Patterson St
283   2400       277812000009634   277812000009639           18-Dec-03     7710       Neurontin 300mg x 3                            18   2400 Patterson St
284   2400       277812000009634   277812000009640           18-Dec-03     7713       Neurontin 800mg x 3                            36   2400 Patterson St
285   2400       284874000009045   284874000009048           08-Jan-04     7710       Neurontin 300mg x 3                           144   2400 Patterson St, Ste 4
286   2400       277812000015148   277812000015152           16-Jan-04     7710       Neurontin 300mg x 3                            24   2400 Patterson St, Ste 4
287   2400       277812000015148   277812000015153           16-Jan-04     7712       Neurontin 600mg x 3                            12   2400 Patterson St, Ste 4
288   2400       277812000015148   277812000015154           16-Jan-04     7713       Neurontin 800mg x 3                            36   2400 Patterson St, Ste 4
289   2400       277812000024986   277812000024990           10-Feb-04     7713       Neurontin 800mg x 3                            24   2400 Patterson St
290   2400       284874000020719   284874000020723           19-Feb-04     7715       Neurontin 100mg x 3                            72   2400 Patterson St, Ste 4
291   2400       284874000020719   284874000020722           19-Feb-04     7713       Neurontin 800mg x 3                            36   2400 Patterson St, Ste 4
292   2400       284874000026212   284874000026215            01-Apr-04    7710       Neurontin 300mg x 3                            36   2400 Patterson St, Ste 4
293   2400       284874000026220   284874000026223            01-Apr-04    7710       Neurontin 300mg x 3                            36   2400 Patterson St
294   2400       284874000026401   284874000026404            02-Apr-04    7710       Neurontin 300mg x 3                            60   2400 Patterson Street
295   2400       277812000034814   277812000034818            08-Apr-04    7715       Neurontin 100mg x 3                            48   2400 Patterson St
296   2400       284874000027778   284874000027782            15-Apr-04    7712       Neurontin 600mg x 3                            72   2400 Patterson St
297   2400       284874000027778   284874000027781            15-Apr-04    7710       Neurontin 300mg x 3                            72   2400 Patterson St
298   2400       284874000029475   284874000029480            29-Apr-04    7698       Neurontin Scored Tabs 800mg x 3                18   2400 Patterson St
299   2400       284874000029475   284874000029479            29-Apr-04    7710       Neurontin 300mg x 3                            72   2400 Patterson St
300   2400       277812000047400   277812000047404           19-May-04     7710       Neurontin 300mg x 3                            18   2400 Patterson St, Ste 4
301   313        277812000035136   277812000035139            09-Apr-04    7710       Neurontin 300mg x 3                            72   313 N.Main St.
302   4230       224001070         224002585                 28-Mar-01     7709       Neurontin 100mg x 10 x 5 x 60(Uni-Dose)        20   4230 Harding Road, Suite 709
303   4230       224001070         224002585                 28-Mar-01     7712       Neurontin 600mg x 3 x 6 x 12                   48   4230 Harding Road, Suite 709
304   4230       224001070         224002585                 28-Mar-01     7710       Neurontin 300mg x 3 x 6 x 12                   48   4230 Harding Road, Suite 709
305   4230       224001488         224002881                 01-Aug-01     7710       Neurontin 300mg x 3 x 6 x 12                  144   4230 HARDING RD 709
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             A           B                   C           D                        E                           F                 G                                   H
306   4230       224001488         224002881                 01-Aug-01     7709       Neurontin 100mg x 10 x 5 x 60(Uni-Dose)        40   4230 HARDING RD 709
307   4230       44390000000603    44390000000606            17-Jan-02     7710       Neurontin 300mg x 3                           144   4230 HARDING RD 709
308   4230       44390000000603    44390000000607            17-Jan-02     7713       Neurontin 800mg x 3                            30   4230 HARDING RD 709
309   4230       44390000000603    44390000000608            17-Jan-02     7715       Neurontin 100mg x 3                            42   4230 HARDING RD 709
310   4230       44390000000603    44390000000605            17-Jan-02     7709       Neuronin 100mg x 10 Unidose                    20   4230 HARDING RD 709
311   4230       236485000007384   236485000007387           30-May-03     7710       Neurontin 300mg x 3                            30   4230 Harding Pike
312   4230       236485000023426   236485000023429            20-Jun-03    7712       Neurontin 600mg x 3                            12   4230 Harding Pike
313   4230       236485000048316   236485000048320             18-Jul-03   7710       Neurontin 300mg x 3                            72   4230 Harding Pike
314   4230       253180000059407   253180000059410           15-Sep-03     7710       Neurontin 300mg x 3                            72   4230 Harding Pike
315   510        236119000004273   236119000004276           23-May-03     7710       Neurontin 300mg x 3                            72   510 Hospital Dr Ste 150
316   510        236119000004273   236119000004277           23-May-03     7712       Neurontin 600mg x 3                            72   510 Hospital Dr Ste 150
317   510        236485000007432   236485000007435           30-May-03     7710       Neurontin 300mg x 3                            36   510 Hospital Dr Ste 240
